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                             TAB 4




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                            DECLARATION OF HAL O'NEIL, CPA

       Hal O'Neil, CPA hereby declares as follows:

       1.      I am an adult resident of the State of Texas and make this Declaration based on

my personal knowledge.

       2.      I am a Certified Public Accountant and one of the owners of the firm Wood,

Stephens & O'Neil, LLP, based in Fmt Wmth Texas. Wood, Stephens & O'Neil, LLP currently

has five full and pait-time employees.

       3.      I have provided accounting services to the Association of Professional Flight

Attendants ("APFA") since 2004. Our firm conducts an annual audit of the APFA, works on tax

returns, and performs audits relating to certain requirements of the Railway Labor Act regarding

union dues. We also respond to requests for additional analysis on an as-needed basis.

       4.     In 2019, I was asked by the APFA to review certain payments that had been made

to former officers of APFA, including Eugenio Vargas.       This initial review did not involve

payments to Robert Ross. In 2020, I was also asked to conduct a review regarding Robert Ross.

In connection with those requests, I prepared and produced to APFA worksheets showing the

overpayment calculations we had made along with a memorandum.

       5.     With respect to Robert Ross, I was asked by APFA Treasurer Erik Harris to

review whether payments made to Mr. Ross were consistent with a "Transition Agreement"

document which Mr. Ross had entered into with APFA in 2018. Among other things, I looked

into payments for accrued and unused sick days, and accrued and unused vacation days. With

respect to those payments, I was asked by Mr. Harris to examine both the number of days of

accrued sick and vacation which had been paid to Mr. Ross, as well as the rate of pay applied to




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each such day, and to determine whether the payments were consistent with the Transition

Agreement provided to me.

       6.      Based on my review of the Transition Agreement, I concluded that it appeared

that Mr. Ross had been paid for the appropriate number of days of accrued and unused sick leave

and vacation. I also concluded that the daily rate applied those days was inconect. I found, as I

had found with respect to other former National Officers who left office in 2018, that an inflated

daily rate had been applied to this calculation.

       7.      On October 22, 2020, my office provided Mr. Hanis with a set of Schedules for

each National Officer who left office in 2018, including Mr. Ross, showing the overpayments I

had calculated for each officer. With respect to Mr. Ross, my analysis of the overpayment to him

was reflected on "Schedule C" of materials I provided to Mr. Hanis in October 2020; the

overpayment was in the amount of $5436.47.

       8.      I also provided Mr. Hanis with a memorandum on that same date, with the

heading "Confidential Memorandum." A copy of that memorandum, including Schedule C

pertaining to Mr. Ross, is attached hereto as Exhibit A. As I explained therein, my work was

pursuant to an "informal engagement ... substantially less in scope than an audit engagement,"

and that I "had prepare[d] an overpayment schedule of the accrued and unused sick, and accrued

an unused vacation time payments made to Bob Ross in 2018." In addition I wrote that:

       Please note the Bob Ross confidential transition agreement states that he will be
       paid all of his accrued and unused sick, and accrued an unused vacation time. This
       agreement doesn't specify that the payments be made in accordance with the
       policy manual guidelines. Consequently, these payments appear appropriate and
       in compliance with the transition agreement.

I understand that the Plaintiffs in this lawsuit contend that this quoted language means that I

found Mr. Ross had been paid the appropriate total amount and had not been overpaid. That is


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incorrect and is not what I wrote nor what I meant. The area of contention, as communicated to

me by Mr. Harris, was whether the hours Mr. Ross was paid were in compliance with the

Transition Agreement rather than the APFA policy manual.          I intended by that sentence to

communicate only my finding, as reflected in the schedules, that Mr. Ross had been paid for the

correct number of days provided for in the Transition Agreement. I did not intend to

communicate that Mr. Ross had been paid the correct daily rate. In fact, as shown on Schedule C

regarding Mr. Ross, I concluded based on the information provided that Mr. Ross had been

overpaid in the amount of $5436.47. The overpayment was a result of using the wrong daily rate

for these payments.




       I declare under penalty of pe1jury that the foregoing is true and correct. Executed this ;/_/ s;'f-
day of March 2024.




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